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                 UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


ALPHA PHI ALPHA FRATERNITY
INC., a nonprofit organization on
behalf of members residing in Georgia;
SIXTH DISTRICT OF THE
AFRICAN METHODIST                               Case No. 1:21-CV-05337-SCJ
EPISCOPAL CHURCH, a Georgia
nonprofit organization; ERIC T.
WOODS; KATIE BAILEY GLENN;
PHIL BROWN; JANICE STEWART,

             Plaintiffs,

             vs.

BRAD RAFFENSPERGER, in his
official capacity as Secretary of State
of Georgia.

             Defendant.



     PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

                   EXPEDITED TREATMENT REQUESTED

     Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiffs

ALPHA PHI ALPHA FRATERNITY, INC., SIXTH DISTRICT OF THE

AFRICAN METHODIST EPISCOPAL CHURCH, ERIC T. WOODS, KATIE

BAILEY GLENN, PHIL BROWN, and JANICE STEWART (collectively,

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“Plaintiffs”), respectfully move the Court for an Order enjoining Defendant Georgia

Secretary of State BRAD RAFFENSPERGER from holding elections under Georgia

Senate Bill 1EX and Georgia House Bill 1EX (collectively, the “2021 Senate and

House Plans”), redistricting plans that were adopted during the 2021 Georgia

legislative session, and to require instead that future elections be conducted under

redistricting plans that do not abridge or dilute the ability of Black voters to elect

candidates of their choice.

      For the reasons set forth in detail in Plaintiffs’ accompanying Memorandum

in Support of Plaintiffs’ Motion for Preliminary Injunction, Plaintiffs have

established that they are likely to succeed on the merits of their claim that the newly

adopted districting schemes unlawfully dilute the voting strength of Black Georgians

in violation of Section 2 of the Voting Rights Act. Further, holding elections using

the 2021 Senate and House Plans would irreparably harm Plaintiffs and other Black

voters across the State; this harm outweighs any harm Defendant would suffer were

the Court to order the relief sought by Plaintiffs; the balance of hardships weighs in

Plaintiffs’ favor; and a preliminary injunction is in the public interest.

      Plaintiffs respectfully request that the Court expedite consideration of this

motion in light of the following upcoming 2022 election-related deadlines:

Candidate qualifying begins March 7 and ends March 11, 2022; the special election

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date is March 15, 2022; the special election runoff date is April 12, 2022; the general

primary election is May 24, 2022; the general primary runoff is on June 21, 2022;

and the general election is on November 8, 2022.

      Dated: January 7, 2022.


Respectfully submitted,


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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman and

a point size of 14.


                                     /s/ Rahul Garabadu




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                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day caused to be served the foregoing

Plaintiffs’ Motion for a Preliminary Injunction with the Clerk of Court using the

CM/ECF system, which will automatically send email notification of such filing to

all counsel or parties of record on the service list:


      This 7th day of January, 2022.



                                         /s/ Rahul Garabadu
